         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
                 _____________________________

                     Case No. 5D2023-2472
                   LT Case No. 2019-CA-805
                 _____________________________

STEPHANIE PASSAFUME,

    Appellant,

    v.

SHIFA HEALTHCARE HOLDINGS,
LLC, JOHN BATISTA, M.D.,
INDIVIDUALLY, JOHN BATISTA
M.D., P.A., PHOENIX AMERICAN
MEDICAL, LLC, and KELLIE
DEGROAT,

    Appellees.
                 _____________________________


On appeal from the Circuit Court for Hernando County.
Donald E. Scaglione, Judge.

Scott L. Terry, Christopher D. Gray, Florin Gray, and Wolfgang
M. Florin, of Florin, Gray, Bouzas, Owens, LLC, Lutz, for
Appellant.

Scott A. Frick, of Frick Law Group, P.A., Tampa, for Appellee,
Shifa Healthcare Holdings, LLC, Et Al.

No Appearance for Other Appellees.

                        August 23, 2024


WALLIS, J.
     Stephanie Passafume (Appellant) appeals a nonfinal order
dismissing her Second Amended Complaint for insufficient service
of process, and a subsequent order denying her motion for
reconsideration. Appellant acknowledges that she failed to re-
serve process on Shifa Healthcare Holdings, LLC (Appellee) upon
filing new claims against Appellee after having voluntarily
dismissed Appellee from her original suit. However, she correctly
asserts that Appellee waived its defense of insufficient service of
process by filing a motion for summary judgment before raising
that defense as required by Florida Rule of Civil Procedure
1.140(b). Accordingly, we reverse.

     In July 2019, Appellant was one of two plaintiffs who filed a
complaint against five parties, including Appellee. Appellant
successfully served Appellee with the complaint through its
registered agent. Two months later, the plaintiffs filed a notice of
voluntary dismissal without prejudice as to Appellee.

     After litigation between the plaintiffs and other defendants
resulted in the dismissal of the complaint and amended complaint,
and severance of the plaintiffs and defendants, Appellant timely
filed the Second Amended Complaint, which included three counts
against Appellee. Appellant did not re-serve process on Appellee.

     In response, Appellee simultaneously filed a Motion for
Summary Final Judgment, or Alternatively, Verified Motion to
Strike Plaintiff’s Complaint as a Sham and Incorporated
Memorandum of Law, and a Motion for Enlargement of Time. The
motions for summary judgment and to strike were directed at the
merits of the complaint allegations. The motion for enlargement
of time sought additional time to file a motion to dismiss under
rule 1.140. Appellee later filed an Amended Motion for Summary
Judgment, which sought a judgment on the merits of the case.

    Subsequently, the trial court granted Appellee’s motion for
enlargement of time, giving Appellee ten days to file a response to
the Second Amended Complaint. Appellee filed a Motion to
Dismiss Second Amended Complaint, or Alternatively, Verified
Motion to Strike Plaintiff’s Complaint as a Sham and Incorporated
Memorandum of Law. In this filing, Appellee for the first time
sought dismissal for insufficient service of process. Appellant

                                 2
responded to the motion to dismiss by arguing that Appellee had
waived any objection to a defect in service of process by filing the
subject motion for summary judgment.

     The trial court granted the motion to dismiss, finding that
Appellant “voluntarily dismissed [Appellee] and then renamed
[Appellee] as a defendant in the Second Amended Complaint
without obtaining service of process on [Appellee].” The court did
not address Appellant’s waiver argument. Accordingly, the court
dismissed the Second Amended Complaint as to Appellee for lack
of personal jurisdiction and gave Appellant twenty days to file a
Third Amended Complaint comporting with substantive law and
rules of procedure.

     Appellant filed a motion for reconsideration, arguing, for the
first time, that in a footnote in its summary judgment motion,
Appellee had expressly waived its defense to insufficient service of
process by its “voluntary appearance through the filing of this
motion.” Appellant noted that Appellee had repeated that express
waiver in its amended summary judgment motion. Finally,
Appellant reiterated that Appellee had waived any defense to
insufficient service of process by appearing in the actions and filing
a motion on the merits. The trial court denied the motion for
reconsideration without elaboration.

     On appeal, Appellant argues, as she did below, that Appellee
waived any challenge to insufficient service of process by failing to
raise such challenge at its first opportunity and instead filing a
motion for summary judgment directed to the merits of the case.
The applicable law regarding waiver of service of process is
succinctly explained in Allstate Mortgage Solutions Transfer, Inc.
v. Bank of America, N.A., 338 So. 3d 985, 987–88 (Fla. 3d DCA
2022), as follows:

      A court’s jurisdiction over a defendant is ordinarily
    established by service of process on the defendant.
    Florida courts, however, have long recognized that
    jurisdiction over a defendant may be acquired by the
    defendant's voluntary appearance in the case and
    submission to the court’s jurisdiction, which, in turn,
    cures any defects in service of process.



                                  3
      A defendant may voluntarily appear in the case and
    submit to the court's jurisdiction in any number of ways,
    ranging from failure to timely object to personal
    jurisdiction, to submission implied from conduct, to
    express consent to the prosecution of a case before the
    court.

     Florida law is well settled that a defendant wishing to
    challenge personal jurisdiction must do so in the first step
    the defendant takes in the case, or this defense will be
    deemed waived, and the court will be deemed to have
    acquired jurisdiction over the defendant.

(internal citations omitted); see also Century-Nat’l Ins. Co. v.
Frantz, 320 So. 3d 929, 930 (Fla. 2d DCA 2021) (“A defendant
wishing to contest personal jurisdiction must do so in the first step
taken in the case, whether by motion or in a responsive pleading,
or that issue is waived and [the] defendant has submitted himself
to the court's jurisdiction.” (quoting Consol. Aluminum Corp. v.
Weinroth, 422 So. 2d 330, 331 (Fla. 5th DCA 1982))); Snider v.
Metcalfe, 157 So. 3d 422, 424 (Fla. 4th DCA 2015) (“Lack of
personal jurisdiction is a waivable defense that must be raised at
the ‘first opportunity’ and before the defendant takes any steps in
the proceeding constituting submission to the court's
jurisdiction.”). 1

     Accordingly we reverse the trial court’s dismissal order and
remand this case for further proceedings.

    REVERSED and REMANDED.



MAKAR and HARRIS, JJ., concur.



    1 Appellant also correctly asserts on appeal that Appellee
expressly waived any defense to insufficient service of process but
we do not rest our decision on that ground because it was not
timely raised below.


                                 4
          _____________________________

Not final until disposition of any timely and
authorized motion under Fla. R. App. P. 9.330 or
9.331.
           _____________________________




                       5
